      Case 22-05078-wlh          Doc 36      Filed 11/15/22 Entered 11/15/22 12:54:50           Desc Notice
                                              of Hearing Page 1 of 1

                                     UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia

In     Richard Douglas Cullinan
Re:    Debtor(s)                                           Bankruptcy Case No. 22−51326−wlh


                                                           Adv Proc. No.: 22−05078−wlh
       COASTAL STATES BANK
       Plaintiff(s)
       −v−

       Richard Douglas Cullinan
       CHRISTINA M CULLINAN
       FIFTH THIRD BANK, NATIONAL
       ASSOCIATION
       CREDIBILITY CAPITAL, INC.
       Defendant(s)


                                               NOTICE OF HEARING


PLEASE TAKE NOTICE that a hearing will be held

December 1, 2022 at 01:30 PM in Courtroom 1403, Atlanta to consider and act upon the following:

Plaintiff's Motion for Stay Pending Appeal



       Hearings may be by phone, video conference or in person. Please check the "Dial−In and Virtual Bankruptcy
Hearing Information" link at the top of the webpage for this Court, www.ganb.uscourts.gov, for more information and
instructions.

United States Bankruptcy Court
1340 United States Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303




                                                           M. Regina Thomas
                                                           Clerk of Court
                                                           U.S. Bankruptcy Court


Dated: November 15, 2022

Form 165ap, Revised September 2021
